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                                UNITED STATES DISTRICT COURT

                                     DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA,

                       Plaintiff,                                       21-CR-399 (RDM)
                          v.                                              Notice of Appeal
 ROMAN STERLINGOV,

                      Defendant.




          Please take notice that Roman Sterlingov, by and through his undersigned attorneys, the

defendant in the above-captioned case, hereby appeals to the United States Court of Appeals for

the District of Columbia from the final judgment (Dkt. 340) entered in this action on November

13, 2024, which convicted the defendant of money laundering conspiracy (1s), money laundering

(2s), operating an unlicensed money transmission business and aiding and abetting (3s), and

money transmission without a license (4s).

          This appeal is taken from the judgment of conviction and sentence imposed by the Court

on November 8, 2024, and from all adverse rulings made by the Court during the course of this

action.
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Dated: November 19, 2024
Washington, DC
                                Respectfully submitted,


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                                Counsel for Defendant Roman Sterlingov



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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of November 2024, the forgoing document was filed

with the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of

the foregoing was sent to the following individuals via e-mail:

                                                                            s/ Michael Hassard


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